Case 3:10-cr-00035-CRS Document 235-2 Filed 06/27/11 Page 1 of 1 PagelD #: 684

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF KENTUCKY

UNITED STATES OF AMERICA ,

)

)

Plaintiff(s), )

) CASE NO. 10 CR 35-H

v. )
)

RODRIGO MACIAS-FARIAS, )
)
)

Defendant(s).

ORDER ON MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Having considered the Motion For Leave To Appear Pro Hac Vice, and for good cause
shown, the Court finds that said motion should be GRANTED / DENIED, and that
Sally Pissetzky should be and hereby is admitted to practice in the United States District Court for

the Western District of Kentucky for purposes of this case only.

Dated this day of , 2011.

UNITED STATES JUDGE
